       Case 2:12-cv-02070-JAR-KMH Document 6 Filed 04/02/12 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



JOANN HORN,                                                         Civil File No. 2:12-cv-2070

               Plaintiff,

vs.                                                           STIPULATION OF DISMISSAL
                                                                       WITH PREJUDICE
NCO FINANCIAL SYSTEMS, INC.,

               Defendant.



       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the plaintiff JoAnn Horn, and the defendant,

NCO Financial Systems, Inc. hereby stipulate to the dismissal of the above-styled case and any

claims that were raised or that could have been raised in this action, with prejudice, each side to

bear its own costs and attorneys fees.

                                             Respectfully submitted,

Dated: April 2, 2012                         By: /s/J. Mark Meinhardt
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                                             9400 Reeds Road, Suite 210
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                                             ATTORNEY FOR PLAINTIFF


Dated: April 2, 2012                         By: /s/Paul Croker
                                             Richmond M. Enochs, #05972
                                             Paul Croker, #21627
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